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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF TEXAS
                          AUSTIN DIVISION

SCOTT PANETTI,                           §
Petitioner,                              §
                                         §
v.                                       § Civil Action No.
                                         § A-04-CA-042-RP
BOBBY LUMPKIN,                           §
Director, Texas Department of            §
Criminal Justice, Correctional           §
Institutions Division,                   §
Respondent.                              §

                     PROPOSED SCHEDULING ORDER

      The Court’s order dated September 9, 2021, directed the parties to file a

joint proposed scheduling order by September 20, 2021. ECF 242. Despite a

good faith attempt, the parties have been unable to agree on such an order.

Therefore, the Respondent files his proposed scheduling order for the Court’s

consideration herein as Exhibit A. 1



                                       Respectfully submitted,


                                       KEN PAXTON
                                       Attorney General of Texas

                                       BRENT WEBSTER
                                       First Assistant Attorney General



1
 By suggesting a proposed scheduling order, the Director is not waiving any defense
including, but not limited to, successiveness, limitations, or default.
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                                    Deputy Attorney General
                                    for Criminal Justice

                                    EDWARD L. MARSHALL
                                    Chief, Criminal Appeals Division

                                    /s/ Rachel L. Patton
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                                    ATTORNEYS FOR RESPONDENT




                       CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing filing has
been served by CM/ECF upon counsel for Respondent on September 20, 2021.

                                          s/ Rachel L. Patton
                                          Rachel L. Patton




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